Case 9:23-cr-80101-AMC Document 692 Entered on FLSD Docket 01/12/2025 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON

     UNITED STATES OF AMERICA,                      )
                                                    )
                                                    )
                            Plaintiff,              )
            v.                                      )
                                                    )
                                                    )
     WALTINE NAUTA, and                             )
     CARLOS DE OLIVEIRA,                            )
                                                    )
                            Defendants.             )
                                                    )

        THE UNITED STATES’ SUPPLEMENT IN RESPONSE TO THE COURT’S
                          JANUARY 11, 2025 ORDER

            In response to the Court’s January 11, 2025, order (Dkt. No. 691), and without

     waiving its jurisdictional objection, the United States hereby files this supplement to its

     Opposition To Defendants’ Motion To Extend Temporary Injunction (Dkt. No. 690). As

     the United States has previously noted, the Final Report of Special Counsel Jack Smith

     comprises two volumes. Volume One concerns the Special Counsel’s investigation and

     prosecution relating to the 2020 presidential election in Washington, D.C. (Election Case).

     Volume Two concerns the Special Counsel’s investigation and prosecution of defendants

     Waltine Nauta and Carlos De Oliveira, as well as President-elect Trump, relating to the

     mishandling of classified documents (Classified Documents Case).

            In response to the Court’s order, the United States believes that nothing in Volume

     One of the Final Report of the Special Counsel “directly or indirectly refers, relies, or bears

     in any respect upon any evidence or argument relevant to any of the charges alleged against



                                                   1
Case 9:23-cr-80101-AMC Document 692 Entered on FLSD Docket 01/12/2025 Page 2 of 4




     Defendants Nauta and De Oliveira in this case.” Dkt. No. 691. Without referencing

     Defendants Nauta or De Oliveira, any conduct by them, any evidence against them, or the

     charges against them, Volume One does makes two references to the Classified Documents

     Case. The government will provide the relevant text in a sealed filing.

            As noted in the Attorney General’s January 8, 2025, letter to Congress (Dkt. 685,

     Ex. A), the Special Counsel’s transmission of the Final Report to the Attorney General

     included a transmittal letter, a letter from counsel for President Trump, and a letter from

     the Special Counsel in response. The letter from counsel for President Trump (which was

     submitted to the Court by defendants, see Dkt. 679, Ex A) requested that, if the Special

     Counsel’s Report were disclosed, the letter from counsel for President Trump and the

     Special Counsel’s response be incorporated into the Report. Dkt. 679, Ex. A at 12. If the

     Department is permitted to publicly disclose Volume One or to make Volume Two

     available to Congress for limited in camera review, the Department intends to also share

     the transmittal letter from the Special Counsel, the letter from counsel for President Trump,

     and the letter from the Special Counsel in response, if permitted by the Court. Defendants

     have not sought to block transmission of these documents, but the Department will provide

     all three documents as attachments to its sealed filing in an abundance of caution.

     Dated: January 12, 2025                          Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Principal Deputy Assistant Attorney General

                                                      MARKENZY LAPOINTE
                                                      United States Attorney

                                                      _s/ Elizabeth J. Shapiro
                                                      ELIZABETH J. SHAPIRO
                                                      D.C. Bar No. 418925
                                                      Special Bar ID #A5502352

                                                  2
Case 9:23-cr-80101-AMC Document 692 Entered on FLSD Docket 01/12/2025 Page 3 of 4




                                            United States Department of Justice
                                            Civil Division, Federal Programs Branch
                                            P.O. Box 883
                                            Washington, D.C. 20044




                                        3
Case 9:23-cr-80101-AMC Document 692 Entered on FLSD Docket 01/12/2025 Page 4 of 4



                                    CERTIFICATE OF SERVICE

               I hereby certify that on January 12, 2025, I electronically filed the foregoing paper

     with the Clerk of the Court using the ECF system, which sends notice to all counsel of

     record.

                                                     /s/ Elizabeth J. Shapiro
                                                     Elizabeth J. Shapiro




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